        Case 2:23-cv-08759-MKB-AYS Document 9 Filed 11/29/23 Page 1 of 8 PageID #: 57

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                                                                                                      for the
                                                                                 Eastern District of New York

                         VIVEK SAINI,                                                                                                                        )
                                                                                                                                                             )
                                                                                                                                                             )
                                                                                                                                                             )
                            Plaintiff(s)                                                                                                                     )
                                                                                                                                                             )
                                v.                                                                                                                                         Civil Action No. 2:23-cv-08759-MKB-AYS
                                                                                                                                                             )
     ABBVIE, INC., ABBVIE US LLC, ANTHONY                                                                                                                    )
       STRASZEWSKI AND MOLLY BEACH
                                                                                                                                                             )
                                                                                                                                                             )
                                                                                                                                                             )
                           Defendant(s)                                                                                                                      )

                                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) ABBVIE, INC.
                                       1 North Waukegan Road
                                       North Chicago, IL 60064




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Brazzano Law PLLC
                                       43 West 43rd Street, Suite 264
                                       New York, New York 10036




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

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         Case 2:23-cv-08759-MKB-AYS Document 9 Filed 11/29/23 Page 2 of 8 PageID #: 58

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:23-cv-08759-MKB-AYS

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):




           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
        Case 2:23-cv-08759-MKB-AYS Document 9 Filed 11/29/23 Page 3 of 8 PageID #: 59

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                    Eastern District of New York

                         VIVEK SAINI,                              )
                                                                   )
                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                         Civil Action No. 2:23-cv-08759-MKB-AYS
                                                                   )
     ABBVIE, INC., ABBVIE US LLC, ANTHONY                          )
       STRASZEWSKI AND MOLLY BEACH
                                                                   )
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) ABBVIE US LLC
                                       1 North Waukegan Road
                                       North Chicago, IL 60064




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Brazzano Law PLLC
                                       43 West 43rd Street, Suite 264
                                       New York, New York 10036




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

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                                                                             CLERK OF COURT


Date:    11/29/2023
                                                                                       Signature of Clerk or Deputy Clerk
         Case 2:23-cv-08759-MKB-AYS Document 9 Filed 11/29/23 Page 4 of 8 PageID #: 60

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:23-cv-08759-MKB-AYS

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):




           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
        Case 2:23-cv-08759-MKB-AYS Document 9 Filed 11/29/23 Page 5 of 8 PageID #: 61

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                                                                                     for the
                                                                     Eastern District of New York

                         VIVEK SAINI,                                                                                                                )
                                                                                                                                                     )
                                                                                                                                                     )
                                                                                                                                                     )
                            Plaintiff(s)                                                                                                             )
                                                                                                                                                     )
                                v.                                                                                                                                   Civil Action No. 2:23-cv-08759-MKB-AYS
                                                                                                                                                     )
     ABBVIE, INC., ABBVIE US LLC, ANTHONY                                                                                                            )
       STRASZEWSKI AND MOLLY BEACH
                                                                                                                                                     )
                                                                                                                                                     )
                                                                                                                                                     )
                           Defendant(s)                                                                                                              )

                                                         SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Anthony Straszewski
                                       4148 Brookfield Way
                                       City of Southport, North Carolina 28461




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Brazzano Law PLLC
                                       43 West 43rd Street, Suite 264
                                       New York, New York 10036




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

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         Case 2:23-cv-08759-MKB-AYS Document 9 Filed 11/29/23 Page 6 of 8 PageID #: 62

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:23-cv-08759-MKB-AYS

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):




           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
        Case 2:23-cv-08759-MKB-AYS Document 9 Filed 11/29/23 Page 7 of 8 PageID #: 63

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                                                                         for the
                                                                       Eastern District of New York

                         VIVEK SAINI,                                                                                                )
                                                                                                                                     )
                                                                                                                                     )
                                                                                                                                     )
                            Plaintiff(s)                                                                                             )
                                                                                                                                     )
                                v.                                                                                                                   Civil Action No. 2:23-cv-08759-MKB-AYS
                                                                                                                                     )
     ABBVIE, INC., ABBVIE US LLC, ANTHONY                                                                                            )
       STRASZEWSKI AND MOLLY BEACH
                                                                                                                                     )
                                                                                                                                     )
                                                                                                                                     )
                           Defendant(s)                                                                                              )

                                                          SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Molly Beach
                                       109 Reidel Private Toad
                                       City of Broussard, Louisiana 70518




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Brazzano Law PLLC
                                       43 West 43rd Street, Suite 264
                                       New York, New York 10036




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

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         Case 2:23-cv-08759-MKB-AYS Document 9 Filed 11/29/23 Page 8 of 8 PageID #: 64

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:23-cv-08759-MKB-AYS

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):




           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
